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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,          )
                                   )
                Plaintiffs,        )
                                   )
          v.                       )                  4:06CR3062
                                   )
ALEXANDER PRIETO,                  )
                                   )
                Defendant.         )                     ORDER
                                   )
                                   )


     The parties have advised the court that the defendant and
his counsel need additional time to consider and prepare for the
plea hearing currently set for August 31, 2006. Based on the
representations of the parties,

     IT IS ORDERED:

     1.   The parties’ joint oral motion for a continuance of the
          plea hearing is granted, and the hearing on the
          defendant’s anticipated plea of guilty is continued to
          September, 29, 2006 at 10:00 a.m., in Courtroom No. 2,
          United States Courthouse and Federal Building, 100
          Centennial Mall North, Lincoln, Nebraska. Defendant
          shall appear at this hearing.

     2.   The ends of justice will be served by granting the
          motion for continuance, and outweigh the interests of
          the public and the defendant in a speedy trial, and the
          additional time arising as a result of the granting of
          the motion, (the time between today’s date and
          September 29, 2006) shall be deemed excludable time in
          any computation of time under the requirements of the
          Speedy Trial Act, for the reason that the defendant and
          his counsel require additional time to adequately
          prepare the case, taking into consideration due
          diligence of counsel, the novelty and complexity of the
          case, and the fact that the failure to grant additional
          time might result in a miscarriage of justice. 18
          U.S.C. § 3161(h)(8)(A) & (B).

     Dated: August 31, 2006              BY THE COURT:

                                         s/ David L. Piester
                                         United States Magistrate Judge
